Case 6:24-cr-00201-GAP-EJK             Document 50          Filed 12/19/24       Page 1 of 1 PageID 129
                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 UNITED STATES OF AMERICA

 VS.                                                            CASE NO: 6:24-cr-201-GAP-EJK

 HASHEM YOUNIS HASHEM
 HNAIHEN
 ___________________________________

                                      NOTICE OF SENTENCING

 TAKE NOTICE that sentencing has been set for:

                         WEDNESDAY, APRIL 16, 2025, at 9:45 AM
                            United States Courthouse
                            Fifth Floor, Courtroom Number 5A
                            401 W. Central Blvd.
                            Orlando, Florida 32801-5750

 NOTE TO COUNSEL: Counsel for the parties shall notify chambers as soon as
 possible if they believe the sentencing hearing will be longer than 45 minutes.
 Failure to notify chambers of an extended hearing length may result in the hearing
 adjourning at 45 minutes and being continued to the next sentencing docket.

 The Court will NOT consider, absent extraordinary circumstances, motions filed
 less than seven days prior to sentencing or memoranda filed less than five days
 prior to sentencing.

 Date: December 19, 2024




 The United States Attorney is responsible for issuing any necessary writ to obtain defendant’s presence at
 this hearing. Should the U. S. Marshal determine that a writ is necessary to obtain Defendant’s presence
 and that no writ has been received, the U. S. Marshal shall immediately advise the U. S. Attorney to deliver
 such writ in sufficient time to cause defendant’s presence at such hearing.

 Distribution to the following:
 Counsel for Defendant
 U. S. Attorney
 U. S. Marshal
 U. S. Probation Office
 U. S. Pretrial Services
